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 5   IMESH PERERA
 6
 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                      )      Case No. 2:10-cr-00347-MCE
                                                    )
11                  Plaintiff,                      )
            v.                                      )
12                                                  )      STIPULATION AND ORDER TO
     DISHAN PERERA, et al.                          )      CONTINUE STATUS CONFERENCE
13                                                  )
                                                    )      Court: Hon. Morrison C. England
14                  Defendant.                      )      Time: 9:00 a.m.
                                                    )      Date: January 23, 2014
15                                                  )

16          Defendant Imesh Perera, by and through his undersigned counsel and the United States

17   Government, by and through Assistant United States Attorney Jill Thomas, hereby agree and
18   stipulate that the status conference currently scheduled for January 23, 2014 be continued until
19
     March 27, 2014. The defendant is charged in a five count indictment alleging violations of 21
20
     U.S.C. §§s 841 (a) (1) and § 846 – possession with intent to distribute and conspiracy to
21
     distribute methamphetamine. The government has previously provided a Plea Agreement to the
22
23   defendant. It includes a factual basis stretching over a period of more than one year and

24   involving numerous intercepted telephone conversations. The defense has requested the

25   government provide some additional information clarifying relevant aspects as to some of the
26   incidents mentioned in the factual basis. The government has provided this information and the
27
     defense needs additional time to review the materials. Just recently the government has agreed
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 1   to entertain another proposal from the defendants and needs more time to evaluate and respond
 2   to the new proposal. The parties therefore agree that additional time is needed to finalize the
 3
     terms of a plea agreement. Therefore, the parties request a status conference date of March 27,
 4
     2014 and that date is available with the Court.
 5
            The parties agree that time should be excluded under 18 U.S.C. § 3161 (h) (8) (i) for
 6
 7   defense preparation and under local code T4.

 8   Dated: January 21, 2014
                                                   Respectfully submitted,
 9                                                 LAW OFFICES OF MARK WAECKER
10                                                 _______/s/_Mark Waecker__________
11                                                 Mark Waecker, Esq.
                                                   Attorney for Defendant,
12                                                 IMESH PERERA

13   Dated: January 21, 2014
                                                   _______/s/__Jill Thomas____________
14                                                 Jill Thomas
15                                                 Assistant United States Attorney
                                                   Attorney for Plaintiff
16                                                 UNITED STATES OF AMERICA

17
                                                   ORDER
18
19          Good cause having been shown, it is hereby ordered that the status conference currently

20   scheduled for January 23, 2014, is continued to March 27, 2014 at 9:00 a.m. Based on the
21   representation of the parties, the Court finds that the ends of justice served by granting the
22
     continuance outweigh the best interest of the public and the defendant in a speedy trial. Time
23
     under the Speedy Trial Act shall be excluded under 18 U.S.C. § 3161(h)(7)(B)(4) and Local
24
     Code T-4 up to and including March 27, 2014.
25

26   Dated: January 22, 2014

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